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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 25-20577-CIV-ALTONAGA/Reid

 In re:
 THE COMPLAINT OF BRP
 CORPORATE SERVICES LLC
 ______________________________/
                                             ORDER

        THIS CAUSE came before the Court upon review of the record and Petitioner, BRP

 Corporate Services LLC’s Complaint for Exoneration from or Limitation of Liability (“Petition”)

 [ECF No. 1], pursuant to 46 U.S.C. section 30501 et seq., the Shipowner’s Limitation of

 Liability Act. Supplemental Rule of Civil Procedure F and 46 U.S.C. section 30529 require a

 petitioner to provide security before commencing a limitation-of-liability action. “That security

 may be ‘a sum equal to the [] value of the owner’s interest in the vessel and pending freight’ or

 an alternative ‘approved security.’” In re Pet. of Paradise Fam., LLC, No. 24-cv-1161, 2024

 WL 3012981, at *2 (M.D. Fla. June 14, 2024) (alteration added; quoting Supp. R. F(1)). An

 approved security may include an ad interim stipulation of value, which “is a vessel owner’s

 statement of the value of the vessel and agreement to be liable for the vessel’s value, backed up

 by an assurance from the vessel’s insurer that it will pay the stated value[.]” Id. (alteration

 added; citing Hartford Acc. & Indem. Co. of Hartford v. S. Pac. Co., 273 U.S. 207, 218–19

 (1927)).

        Petitioner initiated this action on February 7, 2025 (see generally Pet.) but has yet to post

 any form of security. Accordingly, it is

        ORDERED that Petitioner, BRP Corporate Services LLC shall furnish security for its

 vessel, in compliance with Supplemental Rule F and 46 U.S.C. section 30529, by March 10,

 2025. Failure to do so may result in dismissal of this case without prejudice and without further
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 notice.

           DONE AND ORDERED in Miami, Florida, this 26th day of February, 2025.



                                           ________________________________________
                                           CECILIA M. ALTONAGA
                                           CHIEF UNITED STATES DISTRICT JUDGE

 cc:       counsel of record




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